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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 7
     ASHTON W THOMAS,                                CASE NO. 3:19-CV-05619-BHS
 8
                              Plaintiff,             ORDER ADOPTING REPORT
 9          v.                                       AND RECOMMENDATION

10   WASHINGTON CORRECTION
     CENTER, et al.
11
                              Defendants.
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            This matter comes before the Court on the Report and Recommendation (“R&R”)
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     of the Honorable J. Richard Creatura, United States Magistrate Judge. Dkt. 36. The Court
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     having considered the R&R and the remaining record, and no objections having been
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     filed, does hereby find and order as follows:
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            (1)      The R&R is ADOPTED;
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            (2)      Defendants’ cross-motion for summary judgment, Dkt. 26, is GRANTED,
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                     and Plaintiff’s motion for summary judgment, Dkt. 22, is DENIED;
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            (3)      This matter is DISMISSED without prejudice;
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     ORDER - 1
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             Case 3:19-cv-05619-BHS Document 37 Filed 10/07/20 Page 2 of 2




 1         (4)   Plaintiff’s in forma pauperis status is REVOKED for the purposes of

 2               appeal; and

 3         (5)   The Clerk shall enter JUDGMENT and close this case.

 4         Dated this 7th day of October, 2020.

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                                             A
                                             BENJAMIN H. SETTLE
                                             United States District Judge

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     ORDER - 2
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